Case 1:20-cv-00262-KLM Document 1 Filed 01/31/20 USDC Colorado Page 1 of 8




                         IN  THE  UNITED  STATES  DISTRICT  COURT  
                             FOR  THE  DISTRICT  OF  COLORADO  
  
Civil  Action  No.:    
  
GEOVANNY  MORALES,    
  
        Plaintiff,  
  
v.    
  
ROXBOX  CONTAINERS,  LLC  and  
ANTHONY  HALSCH,  
  
        Defendants.  
______________________________________________________________________  
  
                                 COMPLAINT  FOR  UNPAID  WAGES  
______________________________________________________________________  
  
        Plaintiff,   by   and   through   undersigned   counsel,   files   this   Complaint   for   Unpaid  

Wages  against  the  above-­listed  Defendants.  

                                 STATEMENT  OF  THE  CASE  
                                                  
    1.      Plaintiff  was  employed  by  Defendants  as  an  hourly  employee  in  Defendants’  

shipping  container  sale  and  modification  business.  

    2.      Defendants   refused   to   pay   Plaintiff   overtime   wages   for   overtime   hours  

worked.  

    3.      Though   Plaintiff   served   on   Defendants   a   written   demand   for   his   wages,  

Defendants  refused  to  pay  him  the  overtime  wages  he  is  due.  

    4.      Defendants  thus  violated  the  Colorado  Wage  Claim  Act  (the  “CWCA”),  Colo.  

Rev.  Stat.  §§  8-­4-­101  et  seq.;;  the  Fair  Labor  Standards  Act  (the  “FLSA”),  29  U.S.C.  §§  

201  et  seq.,  and  the  Colorado  Minimum  Wage  Act  (the  “CMWA”),  Colo.  Rev.  Stat.  §§  8-­

6-­101   et   seq.,  as   implemented  by   the   Colorado   Minimum   Wage  Order   (the  “MWO”),  7  
Case 1:20-cv-00262-KLM Document 1 Filed 01/31/20 USDC Colorado Page 2 of 8




C.C.R.  1103-­1.  

     5.      Defendants   violated   the   CWCA   because   that   Act   requires   employers   to   pay  

their   former   employees   all   their   earned   and   vested   wages   upon   termination   of   the  

employment  relationship.  By  refusing  to  pay  Plaintiff  the  wages  he  is  due  within  14  days  

of  receipt  of  his  written  demand  for  wages,  Defendants  incurred  CWCA  penalty  liability.  

     6.      Defendants   violated   the   FLSA   because   that   Act   requires   employers   to   pay  

their   employees   one-­and-­one-­half   times   each   employee’s   regular   rate   of   pay   for   each  

hour  worked  beyond  forty  each  workweek.    

     7.      Defendants   violated   the   CMWA   because   that   Act   requires   employers   to   pay  

their   employees   one-­and-­one-­half   times   each   employee’s   regular   rate   of   pay   for   each  

hour   worked   beyond   forty   each   workweek   and   for   each   hour   worked   beyond   twelve  

each  workday.    

     8.      Plaintiff   seeks   actual   damages,   liquidated   damages,   penalties   and   attorney  

fees  and  costs  for  Defendants’  violations  of  the  CWCA,  FLSA,  and  CMWA.  

                             PARTIES,  JURISDICTION,  AND  VENUE  
  
     9.      Plaintiff  Geovanny  Morales  was  employed  by  Defendants  from  approximately  

July,   2018   through   approximately   October,   2019.   Plaintiff   Vanegas’   signed   FLSA  

Consent  to  Sue  Form  is  attached  to  this  Complaint  as  Plaintiff’s  Exhibit  1.      

     10.     Defendant  RoxBox  Containers,  LLC  is  a  registered  Colorado  company  which  

has  a  principal  street  address  of  5040  Acoma  Street,  Denver,  Colorado  80216.  

     11.     Defendant   Anthony   Halsch   is   the   founder   and   CEO   of   RoxBox   Containers,  

LLC.  




                                                      2
Case 1:20-cv-00262-KLM Document 1 Filed 01/31/20 USDC Colorado Page 3 of 8




    12.      Jurisdiction   is   conferred   upon   this   Court   by   28   U.S.C.   §   1331,   this   case  

arising   under   the   laws   of   the   United   States.   This   action   arises   under   the   FLSA,   29  

U.S.C.  §§  201  et  seq.  

    13.      Plaintiff   requests   that   this   Court   exercise   supplemental   jurisdiction   over   his  

claims  under  the  CWCA  and  the  CMWA  pursuant  to  28  U.S.C.  §  1367.      

    14.      Venue   is   proper   pursuant   to   28   U.S.C.   §   1391(b)(2)   because   all   the   events  

and  omissions  giving  rise  to  the  claims  occurred  in  the  District  of  Colorado.      

                      FACTUAL  ALLEGATIONS  RELEVANT  TO  ALL  CLAIMS  
      
    15.      Defendants   employed   Plaintiff   on   an   hourly   basis   in   Defendants’   shipping  

container  sales  and  modification  business  in  Denver.    

    16.      Defendants  paid  Plaintiff  $30.00  per  hour  for  each  hour  he  worked.  

    17.      Defendants  refused  to  pay  Plaintiff  overtime  wages  for  the  overtime  hours  he  

worked.  

    18.      For  example,  during  the  one-­week  pay  period  running  from  October  14,  2018  

through   October   20,   2018,   Plaintiff   Morales  worked   67.75   hours.   Defendants   paid   him  

$30.00   per   hour   for   each   of   those   hours,   for  a   total   of  $2,032.50,   and   did   not   pay   him  

overtime  premiums  for  each  hour  he  worked  beyond  40  that  workweek.  Similarly,  during  

the   one-­week   pay   period   running   from   May   19,   2019   through   May   25,   2019,   Plaintiff  

worked  54.75  hours.  Defendants  paid  him  $30.00  per  hour  for  each  of  those  hours,  for  a  

total   of   $1,642.50,   and   did   not   pay   him   overtime   premiums   for   each   hour   he   worked  

beyond  40  that  workweek.  

    19.      On  December  26,  2019,  Plaintiff  served  Defendants  with  a  written  demand  for  

the   wages   he   is   due.   As   of   the   date   of   this   filing,   Defendants   have   not   tendered   any  



                                                          3
Case 1:20-cv-00262-KLM Document 1 Filed 01/31/20 USDC Colorado Page 4 of 8




payment  in  response  to  Plaintiff’s  demand.  

    20.      At   all   times   relevant   to   this   action,   Defendants   employed   persons,   including  

Plaintiff,  within  the  State  of  Colorado.    

    21.      At   all   times   relevant   to   this   action,   Plaintiff   performed   labor   for   the   benefit   of  

Defendants   wherein   Defendants   commanded   when,   where,   and   how   much   labor  

Plaintiff  was  to  perform.  

    22.      Each   year   relevant   to   this   action,   Plaintiff   handled   tools   and   construction  

materials  which  moved  in  interstate  commerce.  

    23.      Defendants   enjoyed   more   than   $500,000.00   in   gross   receipts   each   year  

relevant  to  this  action.  

    24.      Defendant   Anthony   Halsch,   at   all   material   times,   exercised   operational   and  

financial   control   over   the   RoxBox   enterprise  and   exercised   control   over   the   terms   and  

conditions  of  employment  of  his  employees.  For  example,  Defendant  Halsch  hired  and  

fired  employees,  including  Plaintiff  Morales.  Defendant  Halsch  set  his  employees’  work  

schedules,   set   their   rates   of   pay,   and   made   the   decision   not   to   pay   Plaintiff   overtime  

wages.    

       FIRST  CLAIM  –  Failure  to  Pay  All  Earned,  Vested  and  Determinable  Wages  
                 Upon  Termination  of  the  Employment  Relationship  
               Violation  of  the  CWCA  (Colo.  Rev.  Stat.  §§  8-­4-­101,  et  seq.)    
      
    25.      Plaintiff   repeats   and   realleges   each   of   the   above   allegations   as   if   fully   set  

forth  herein.  

    26.      Plaintiff   asserts   this   count   against   Defendant   RoxBox,   LLC   (the   “corporate  

Defendant”).  

    27.      The  corporate  Defendant  was  Plaintiff’s  “employer”  as  that  term  is  defined  by  



                                                           4
Case 1:20-cv-00262-KLM Document 1 Filed 01/31/20 USDC Colorado Page 5 of 8




the  CWCA  because  it  employed  Plaintiff  in  Colorado.  Colo.  Rev.  Stat.  §  8-­4-­101(6).  

    28.      Plaintiff  was  the  corporate  Defendant’s  “employee”  as  that  term  is  defined  by  

the   CWCA   because   he   performed   labor   for   the   benefit   of   the   corporate   Defendant   in  

which   the   corporate   Defendant   commanded   when,   where,   and   how   much   labor   or  

services  would  be  performed.    Colo.  Rev.  Stat.  §  8-­4-­101(5).  

    29.      The  corporate  Defendant  violated  the  CWCA  when  it  failed  to  pay  Plaintiff  all  

earned,   vested   and   determinable   wages   and   incurred   CWCA   penalty   liability   when   it  

failed  to  pay  the  wages  due  within  14  days  after  Plaintiff  served  the  corporate  Defendant  

with  a  written  demand  for  wages.  Colo.  Rev.  Stat.  §  8-­4-­109.  

    30.      Plaintiff  has  suffered  lost  wages  and  lost  use  of  those  wages  in  an  amount  to  

be  determined  at  trial.  

    31.      Plaintiff   is   entitled   to   recover   in   a   civil   action   all   earned,   vested   and  

determinable  wages  due,  statutory  penalties  and  attorney  fees  and  costs  of  suit.  Colo.  

Rev.  Stat.  §  8-­4-­109;;  Colo.  Rev.  Stat.  §  8-­4-­110.  

                     SECOND  CLAIM  –  Failure  to  Pay  for  All  Time  Worked    
     Violation  of  the  CMWA  (Colo.  Rev.  Stat.  §§  8-­6-­101,  et  seq.)  as  implemented  by  
                                   the  MWO  (7  CCR  1103-­1)  
      
    32.   Plaintiff   repeats   and   realleges   each   of   the   above   allegations   as   if   fully   set  

forth  herein.  

    33.      Plaintiff   asserts   this   count   against   Defendant   RoxBox,   LLC   (the   “corporate  

Defendant”).  

    34.      The  corporate  Defendant  was  Plaintiff’s  “employer”  as  that  term  is  defined  by  

the  MWO  because  it  employed  Plaintiff  in  Colorado.    7  C.C.R.  1103-­1(2).  

    35.      Plaintiff  was  the  corporate  Defendant’s  “employee”  as  that  term  is  defined  by  



                                                         5
Case 1:20-cv-00262-KLM Document 1 Filed 01/31/20 USDC Colorado Page 6 of 8




the   MWO   because   he   performed   labor   for   the   benefit   of   the   corporate   Defendant   in  

which   the   corporate   Defendant   commanded   when,   where,   and   how   much   labor   or  

services  would  be  performed.    7  C.C.R.  1103-­1(2).  

     36.        The   corporate   Defendant   employed   Plaintiff   in   a   business   or   enterprise   that  

sells   or   offers   for   sale,   a   commodity,   article,   good,   or   merchandise   to   the   consuming  

public,   and   that   generates   50%   or   more   of   its   annual   dollar   volume   of   business   from  

such  sales,  and  therefore  in  an  industry  regulated  by  the  MWO.    7  C.C.R.  1103-­1(2)(A).      

     37.        The  corporate  Defendant  violated  the  CMWA,  as  implemented  by  the  MWO,  

when  it  failed  to  pay  Plaintiff  overtime  wages  for  overtime  hours  worked.    7  CCR  1103-­

1(4).      

     38.        As  a  result,  Plaintiff  has  suffered  lost  wages  and  lost  use  of  those  wages  in  an  

amount  to  be  determined  at  trial.  

     39.        Plaintiff  is  entitled  to  recover  in  a  civil  action  wages  owed  to  him,  together  with  

attorney  fees  and  costs  of  suit.    Colo.  Rev.  Stat.  §  8-­6-­118;;  7  C.C.R.  1103-­1(18).          

                            THIRD  CLAIM  –  Failure  to  Pay  Overtime  Premiums  
                               Violation  of  the  FLSA  (29  U.S.C.  §  201  et  seq.)  
                                                             
     40.        Plaintiff   repeats   and   realleges   each   of   the   allegations   above   as   if   fully   set  

forth  herein.      

     41.        Plaintiff  asserts  this  count  against  all  Defendants.  

     42.        Plaintiff  was  an  “employee”  as  that  term  is  defined  by  the  FLSA.    29  U.S.C.  §  

203(e).      

     43.        Defendants   “employed”   Plaintiff   as   that   term   is   defined   by   the   FLSA.      29  

U.S.C.  §  203(g).  

     44.        Defendants  were  Plaintiff’s  “employers”  as  that  term  is  defined  by  the  FLSA.    


                                                           6
Case 1:20-cv-00262-KLM Document 1 Filed 01/31/20 USDC Colorado Page 7 of 8




29  U.S.C.  §  203(d).  

     45.      Defendants   violated   the   FLSA   when   they   refused   to   pay   Plaintiff   overtime  

wages  for  hours  worked  beyond  forty  in  each  given  workweek.    29  U.S.C.  §  207.        

     46.      Defendants’  violations  of  the  FLSA  were  willful.  29  U.S.C.  §  255(a).  

     47.      Plaintiff  has  suffered  lost  wages  and  lost  use  of  those  wages  in  an  amount  to  

be  determined  at  trial.  

     48.      Plaintiff  is  entitled  to  recover  unpaid  overtime  premiums,  liquidated  damages,  

attorney  fees  and  costs.    29  U.S.C.  §  216(b).      

  
  
WHEREFORE,  Plaintiff  prays  that:  

         As  to  his  FIRST  CLAIM  brought  under  the  CWCA,  Plaintiff  respectfully  requests  

an  Order  from  the  Court  that:  

                             
              a.   Plaintiff  be  awarded  the  overtime  wages  he  is  due;;  
                     
              b.   Plaintiff  be  awarded  statutory  penalties;;  
           
              c.   Plaintiff  be  awarded  attorney  fees  and  costs  of  suit;;    
           
              d.   Plaintiff  be  awarded  pre-­judgment  and  post-­judgment  interest;;  and  
  
              e.   Plaintiff  be  awarded  such  other  and  further  relief  as  may  be  necessary  and  
                   appropriate.  
           

         As   to   his   SECOND   CLAIM   brought   under   the   CMWA,   as   implemented   by   the  

MWO,  Plaintiff  respectfully  requests  an  Order  from  the  Court  that:  

                             
              a.   Plaintiff  be  awarded  the  overtime  wages  he  is  due;;  
                       
              b.   Plaintiff  be  awarded  attorney  fees  and  costs  of  suit;;          
           


                                                          7
Case 1:20-cv-00262-KLM Document 1 Filed 01/31/20 USDC Colorado Page 8 of 8




             c.   Plaintiff  be  awarded  pre-­judgment  and  post-­judgment  interest;;  and  
  
             d.   Plaintiff  be  awarded  such  other  and  further  relief  as  may  be  necessary  and  
                  appropriate.  
                                                                          
        As   to   his   THIRD   CLAIM   brought   under   the   FLSA,   Plaintiff   respectfully   requests  

an  Order  from  the  Court  that:  

          
             a.   Plaintiff  be  awarded  unpaid  overtime  wages;;  
  
             b.   Plaintiff  be  awarded  liquidated  damages  as  required  by  law;;  
          
             c.   Plaintiff  be  awarded  pre-­judgment  and  post-­judgment  interest;;    
          
             d.   Plaintiff  be  awarded  costs  and  attorney  fees;;  
          
             e.   Plaintiff  be  awarded  such  other  and  further  relief  as  may  be  necessary  and  
                  appropriate.  
  
                   
                   
                                                  Respectfully  submitted,  
                                                    
  
                                                  s/  Brandt  Milstein    
                                                  Brandt  Milstein  
                                                  Milstein  Law  Office  
                                                  2400  Broadway,  Suite  B  
                                                  Boulder,  CO  80304  
                                                  Telephone:  303.440.8780  
                                                  Fax:  303.957.5754  
                                                  E-­mail:  brandt@milsteinlawoffice.com      
                                                    
                                                  Attorney  for  Plaintiff  




                                                       8
